Case 3:18-cr-00095-SRU Document 12 Filed 05/16/18 Page 1 of 1

AO 442 (Rc\'. | l/ll) At'rcsl Wanunl

UNITED STATES DISTRICT COURT
for the

District of`COnnecticut

United Stutes of America

 

Yehud|vManzano § ease NO_ 3:18cr95 SRU
41 _ § ij §§ §§
DQ/@ndan¢ _A-~.§: g ::.==,
ARREST WA:RRANT _e_»;}~ U m
To: Any authorized law enforcement officer §§ :.' j
_'i _.I

VOU ARE COMMANDED to arrest and bring before a United States magistrate judge wtthout unnecessary delay

(name afpe)'son lo be m'rested) thudi |\/|anzano
who 15 accused of an offense or violation based on the following document flled with the court.

Cl Supersedinglnformation D Complaint

N{ Indictment l'_'l Superseding Indictment l:l Infonnation
l:l Violation Notice Cl Order of the Court

ij Probation Violation Petition |:l Supervised Release Violation Petition

This offense is briefly described as follows:

18 USC 2261(a) Product|on of Ch||d Pornography
18 USC 2252A(a)(1) Tranaportat|on of Child Pornography

   

 

 

Trua 00 v
'Tl:'lEOB|NL"-T
war U B. DD\BB\?M COUH
Date: 7 05{04/‘2(_)1_7_6_'__'_ ay ,-. 1 _ _ . _ ,. _,_,_ __, _ _
gigu.pu`§mlerrk / sir mg aMc,w-‘.v x gun-nw
City and state: _ New Havqr\. Qj'___, _ , ___ N|c`krF_ane||e / Case Adm|nlstLath _
' 'Fr'llllecd name and li!l¢¢
Return

 

 

This wath

at (cily and slale) K'V'l g£{?_

Date: _S_LIiIF/d\ ?

\\[a receiv;y€_¢g____ (drmr) 5-_ l_ \'10)8 ,and the person was arrested cm (dme) ;)' (Zl‘ 2 Q (_6__

   
 

letting nj¢‘cw' s signature L

!'rfmvtf rmme .r/:T M:H§ §S_

 

 

 

